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                       UNITED STATES DISTRICT COURT
             WESTERN DISTRICT OF TENNESSEE
                   EASTERN DIVISION


KMI GROUP, INC AND                             JUDGMENT IN A CIVIL CASE
SUMMIT PROPERTIES HOLDING, LLC

      Plaintiffs,
v.

OWNERS INSURANCE COMPANY

      Defendant.
                                               CASE NO: 16-1216-STA-egb




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED       that in accordance with the
Stipulation of Dismissal With Prejudice entered on April 26, 2017,
this cause is hereby dismissed without prejudice.




                                               APPROVED:


s/ S. Thomas Anderson
CHIEF JUDGE UNITED STATES DISTRICT COURT

DATE: 4/26/2017                                THOMAS M. GOULD
                                                Clerk of Court

                                             s/Maurice B. BRYSON
                                             (By) Deputy Clerk
